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                             UNITED STATES BANKRUPTCY COURT
 6
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 7
 8    In re:                                         Case No. 16-11049-TWD
                                                     Chapter 7
 9    DIRK M. MAYBERRY,
10                                                   PROOF OF SERVICE
                          Alleged Debtor
11
12             Donald A Bailey hereby declares under penalty of perjury as follows:
13
               1. On March 4, 2016, I served the Involuntary Petition herein (ECF #2) and the
14
     Summons (ECF #4) on alleged debtor Dirk M Mayberry by mailing such pleadings to
15
16   him, first class mail, postage prepaid, addressed as follows:

17   DIRK M MAYBERRY
18   PO BOX 94744
     SEATTLE WA 98124
19
20   DIRK M MAYBERRY
     4206 B RAINIER AVE S
21   SEATTLE WA 98118
22
     DIRK M MAYBERRY
23   4200 RAINIER AVE SO #101
     SEATTLE WA 98118
24
25   DIRK M MAYBERRY
     8801 36TH AVE SO #2
26
     SEATTLE, WA 98118
27
28
                                                                             DONALD A BAILEY
                                                                              ATTORNEY AT LAW
                                                                         1720 Olive Way, #1000
                                                                           Seattle, WA 98101
     PROOF OF SERVICE - 1                                                     206 682 4802

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 1   DIRK M MAYBERRY
 2   7238 INTERLAKKEN DR SW
     LAKEWOOD WA 98499
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 4         2. The two addresses listed above are the addresses on the involuntary petition.

 5   The third, fourth and fifth addresses listed above are addresses shown by the Secretary
 6
     of State to be places where Dirk M Mayberry conducts business, including addresses he
 7
     lists as the registered agent for service of process on Dirk M Mayberry Inc. and
 8
 9   Redwater Associates Inc. See the attached printouts from the Secretary of State website.
10
           Dated: March 4, 2016
11
                                                     DONALD A BAILEY
12                                                   /s/ Donald A Bailey
13                                                   WSB#12289
                                                     Attorney for Petitioning Creditors
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                                                                           DONALD A BAILEY
                                                                            ATTORNEY AT LAW
                                                                       1720 Olive Way, #1000
                                                                         Seattle, WA 98101
     PROOF OF SERVICE - 2                                                   206 682 4802

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